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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA       *
                                *
     v.                         *    CRIMINAL NO. PX-18-631
                                *
 SCOTT ANTHONY WILLIAMS, and    *
 TAEYAN RAYMOND WILLIAMS        *
                                *
          Defendants.           *
                             *******


                          MOTION HEARING STATUS REPORT

       This case is scheduled for motions hearing on March 7 and March 8, 2022. Government

counsel submits this Status Report for the purpose of informing the Count as to matters to be

litigated at the hearing. The following table contains the ECF numbers, defense motions, evidence

sought to be suppressed, Government’s responses, and relevant exhibits that have been submitted.

 MOTION                               RESPONSE                       EXHIBIT
 ECF 16 –                             ECF 43-Government’s            ECF 43-9
 S. Williams Motion to Suppress to    Omnibus Response               10301 Bristolwood Court
 Tangible Evidence and Statements                                    SW Documents
 (Probable Cause for 10301            ECF 104-
 Bristolwood Court SW,                Government’s Supplemental      ECF 43-14
 Warrantless Search of Cell Phone,    Response to S. Williams’s      SW Docs. for cell phones
 Statement of S. Williams)            Motion to Suppress             recovered from 10301
                                      Statement                      Bristolwood Court (Only
                                                                     submitted to rebut
                                                                     allegations of warrantless
                                                                     search)

                                                                     ECF 43-15
                                                                     Audio Recording of S.
                                                                     Williams Interview (See
                                                                     ECF 44 Motion for
                                                                     Leave to File Exhibit as
                                                                     Audio File)




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 ECF 100-                             ECF 106-                       ECF 106-1
 T. Williams Motion to Suppress       Government’s Opposition to     SW application and
 Tangible and Derivative Evidence     T. Williams Motion to          warrant for AT&T No.
 (Social Media Accounts, Cell         Suppress                       681-404-1855
 Phone Records and WV Apt.)
                                                                     ECF 106-2
                                                                     SW application and
                                                                     warrant for Facebook
                                                                     Accounts of T. Williams
 ECF 101-                             *ECF 106 at n.#10, the
 T. Williams-Motion to Adopt S.       Government noted its view
 Williams Motions                     that T. Williams did not
                                      have standing to suppress S.
                                      Williams’s statements, nor
                                      evidence relating to S.
                                      Williams’s devices.

        The Government believes that defense motions ECF 16 (Motion to Suppress Tangible
Evidence) and ECF 100 can be argued without the need for testimony, based upon the relevant
exhibits filed as referenced herein. For defense motion ECF 16 (Motion to Suppress Statement),
the Government also believes that, subject to argument, the Court can decide the motion based
upon the audio recording of the interview of S. Williams, particularly the portion transcribed in
ECF 104 (Government’s Supplemental Response to S. Williams’s Motion to Suppress Statement),
from the beginning of the recording to 1:50. Since counsel and the Court have reviewed the entire
recording, the Government believes the recording can be submitted as an exhibit without the need
for the recording to be replayed during the hearing. Potential Government motions hearing
witnesses, if necessary, are Cpl. Kyle Simms and Det. Sgt. John Monarek, both of the Maryland
State Police.

        Government counsel will be submitting an unredacted ECF 43-9 (10301 Bristolwood
Court SW Documents) and a full transcript of ECF 43-15 (Audio Recording of S. Williams
Interview) to the Court and counsel.
       The Government reserves the right to submit additional evidence and argument to any
defense arguments raised at the hearing, that have not been submitted in advance as part of their
motions.



                                                Respectfully submitted,

                                                Erek L. Barron
                                                United States Attorney
                                                District of Maryland




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                                             By: _________________________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of February, 2022, the foregoing Status Report was

filed electronically and thus served upon defense counsel.


                                                _________________________________
                                                William D. Moomau
                                                Assistant United States Attorney




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